                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          Civil Division


CONRAD SMITH, ET AL.

       Plaintiffs,                                    Civil Action No. 1:21-cv-02265-APM

v.

DONALD J. TRUMP FOR PRESIDENT,
INC., ET AL.

       Defendants.


              DEFENDANT KELLY MEGGS’ NOTICE OF WITHDRAWAL

       COMES NOW the Defendant Kelly Meggs (Mr. Meggs), by and through undersigned

counsel, to file this Notice to Withdraw Defendant’s filing of a Motion for Leave to file the Motion

to Dismiss, Memorandum in Support of and Proposed Form of Order and Exhibit One, ECF 108

and its attachments, as moot. The Motion to Dismiss, Memorandum in Support of and Proposed

Form of Order are now filed under ECF 110.



Dated: December 27, 2021                      Respectfully Submitted,



                                                      /s/ Juli Z. Haller
                                              Julia Z. Haller (#466921)
                                              Law Offices of Julia Haller
                                              601 Pennsylvania Avenue, NW
                                              S. Building, Suite 900
                                              Washington, D.C. 20004
                                              Tel: 202.729.2201
                                              hallerjulia@outlook.com
                                              Counsel for Defendant, Kelly Meggs
                                 CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 27th day of December, 2021, a copy of the foregoing Notice of

Withdrawal was filed electronically to serve all counsel of record.



                                                     /s/ Juli Z. Haller
                                             Julia Z. Haller




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